Case: 2:18-cv-00674-ALM-KAJ Doc #: 30 Filed: 07/17/19 Page: 1 of 2 PAGEID #: 163




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


RICHARD BARROW                               )      CASE NO.        2:18-CV-00674
                                             )
               Plaintiff                     )      JUDGE ALGENON L. MARBLEY
                                             )
       -vs-                                  )      MAGISTRATE JUDGE
                                             )       KIMBERLY A. JOLSON
C/O TOBY HOLTON, et al.                      )
                                             )
               Defendants                    )



                                 NOTICE OF APPEARANCE



       Now comes Jacqueline C. Greene, Attorney at Law, and hereby enters her appearance as

counsel of record on behalf of the Plaintiff, Richard Barrow, in the above-captioned case.

                                          Respectfully submitted,

                                          FRIEDMAN & GILBERT


                                          /s/ Jacqueline C. Greene
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                                          Attorney for Plaintiff
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 17, 2019, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all registered parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s system.


                                                /s/ Jacqueline C. Greene
                                                JACQUELINE C. GREENE
                                                Attorney for Plaintiff




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